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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                         CIVIL ACTION NO. 3:18-CV-855-DJH-CHL


 LARRY WOODS,                                                                         Plaintiff,

 v.

 TARGET CORPORATION,                                                                Defendant.

                                              ORDER

        Before the Court is the Parties’ joint status report. (DN 63.) The Parties reported that

 they did not believe that additional settlement negotiations would be productive and that

 Defendant requested ten days to refile its previous motion for summary judgment. (Id.) The

 Court will set a briefing scheduling for Defendant’s motion for summary judgment and any

 Daubert motions the Parties intend to file as set forth below.

        For the reasons stated in the Court’s prior orders (DNs 57, 59), the Parties are warned that

 additional modifications to the schedule are unlikely and that the Court will closely scrutinize

 any such request.




        Accordingly,

        IT IS HEREBY ORDERED that on or before November 23, 2021, counsel for the

 Defendant shall refile Defendant’s motion for summary judgment and the Parties shall file all

 motions related to the admissibility of expert testimony pursuant to Fed. R. Evid. 702 (Daubert

 motions). Plaintiff’s response to Defendant’s anticipated motion for summary judgment and any
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 responses to any Daubert motions shall be filed no later than twenty-one days after the filing of

 the motion(s). Any replies shall be due with ten days after the filing of any response(s).




 cc:   Counsel of Record
       November 2, 2021




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